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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

 M.D., by her next friend, Sarah R.       §
 Stukenberg, et al.,                      §
                                          §
         Plaintiffs,                      §
                                          §
 v.                                       §       Civil Action No. 2:11-CV-00084
                                          §
 GREG ABBOTT, in his official             §
 capacity as Governor of the State of     §
 Texas, et al.,                           §
                                          §
         Defendants.                      §


                            DEFENDANTS’ WITNESS LIST
                       FOR JUNE 27, 2023 STATUS CONFERENCE


        Defendants respectfully submit the following designation of witnesses for the

status conference scheduled for June 27, 2023. Defendants intend to call these

witnesses to assist with demonstrating Defendants’ substantial compliance with the

Remedial Orders and carrying out their responsibility of safeguarding the children in

their care. Defendants reserve the right to call additional witnesses if needed to show

substantial compliance with the Remedial Orders.

        DFPS Commissioner Stephanie Muth designates the following witnesses:

           •   Erica Bañuelos

           •   Jillian Bonacquisti

           •   Clint Cox

           •   Cristina Guerrero


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         •   Lisa Kanne

         •   Jessica Morales

         •   Cecilia Ojeda-Collins

         •   Hector Ortiz

         •   Natalie Taylor

         •   Lindsey Van Buskirk

         •   Bill Walsh

      HHSC Executive Commissioner Cecile Erwin Young designates the following

witnesses:

         •   Rachel Ashworth-Mazerolle

         •   Laura Castillo

         •   Jenny Hinson



Date: June 13, 2023                            Respectfully submitted,

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                              CERTIFICATE OF SERVICE

        I hereby certify that on June 13, 2023, a true and correct copy of the foregoing
document was electronically filed with the Clerk of the Court using the electronic case
filing system, which automatically provided notice to all attorneys of record.


                                               _/s/ Allyson N. Ho_________
                                               Allyson N. Ho




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